
 1  Brandon L. Fake, Petitioner  v.  Industrial Claim Appeals Office of the State of Colorado and Division of Unemployment Insurance, PEB Team. Respondents No. 22SC555Supreme Court of Colorado, En BancJanuary 23, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA397
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    